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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ALBERT BLANCHARD,

                             Plaintiff,

             v.                                                         ORDER

TABULATE, INC.,                                                   18 Civ. 8631 (ER)

                             Defendant.



RAMOS, D.J.

        On September 20, 2018, Albert Blanchard brought suit against Tabulate, Inc. for breach

of contract and related claims. Doc. 1. On June 4, 2019, the Court entered a stipulation between

the parties staying the case pending a written settlement agreement between them. Doc. 55. On

January 23, 2020, the Court requested a status report on their settlement by February 23. Doc.

56. The parties did not provide a status update by the February 23 deadline and, since then, the

parties have not updated the Court on the status of their settlement.

       Accordingly, the parties are directed to submit a joint status report by November 19,

2020. Failure to comply with the Court’s order could result in sanctions, including dismissal for

failure to prosecute. Fed. R. Civ. P. 41(b).

       It is SO ORDERED.

Dated: November 5, 2020
       New York, New York

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                                                             Edgardo Ramos, U.S.D.J.
